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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 IN RE: DAVOL, INC./C.R. BARD, INC.,
                                                    Case No. 2:18-md-2846
 POLYPROPYLENE HERNIA MESH
 PRODUCTS LIABILITY LITIGATION
                                                    JUDGE EDMUND A. SARGUS, JR.
                                                    Magistrate Judge Kimberly A. Jolson



 This document relates to:
                                                    Civil Action No. ___ ____________
 John J. Stevens

                                 SHORT FORM COMPLAINT

        Plaintiff files this Short Form Complaint pursuant to Case Management Order No. 9 and is

to be bound by the rights, protections, and privileges and obligations of that Order. Plaintiff

hereby incorporates the Master Complaint in MDL No. 2846 by reference. Plaintiff further shows

the Court as follows:

1.      The name of the person implanted with Defendants’ Hernia Mesh Device(s):

        John J. Stevens

2.      The name of any Consortium Plaintiff (if applicable):

        N/A

3.      Other Plaintiff(s) and Capacity (i.e., administrator, executor, guardian, conservator):

        N/A

4.      State of Residence:

        Michigan

5.      District Court and Division in which action would have been filed absent direct filing:

        Rhode Island; Providence Division

6.      Defendants (Check Defendants against whom Complaint is made):
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               A. Davol, Inc.

               B. C.R. Bard, Inc.

               C. Other (please list: ______________________________________________)

7.      Identify which of Defendants’ Hernia Mesh Device(s) was/were implanted (Check
        device(s) implanted):

               3DMax Mesh

               3DMax Light Mesh

               Bard (Marlex) Mesh Dart

               Bard Mesh

               Bard Soft Mesh

               Composix

               Composix E/X

              Composix Kugel Hernia Patch

               Composix L/P

               Kugel Hernia Patch

               Marlex

              Modified Kugel Hernia Patch

               Perfix Light Plug

               PerFix Plug

               Sepramesh IP

               Sperma-Tex

               Ventralex Hernia Patch

               Ventralex ST Patch

               Ventralight ST
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               Ventrio Patch

               Ventrio ST

               Visilex

               Other (please list in space provided below):


8.      Defendants’ Hernia Mesh Device(s) about which Plaintiff is making a claim (Check
        applicable device(s)):

               3DMax Mesh

               3DMax Light Mesh

               Bard (Marlex) Mesh Dart

               Bard Mesh

               Bard Soft Mesh

               Composix

               Composix E/X

              Composix Kugel Hernia Patch

               Composix L/P

               Kugel Hernia Patch

               Marlex

              Modified Kugel Hernia Patch

               Perfix Light Plug

               PerFix Plug

               Sepramesh IP

               Sperma-Tex

               Ventralex Hernia Patch
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               Ventralex ST Patch

               Ventralight ST

               Ventrio Patch

               Ventrio ST

               Visilex

               Other (please list in space provided below):
              __________________________________

9.      Date of Implantation and state of implantation: 04/18/2018; Michigan


10.     As of the date of filing this Short Form Complaint, has the person implanted with
        Defendants’ Hernia Mesh Device(s) had subsequent surgical intervention due to the Hernia
        Mesh Device(s)?:     Yes X         No____

11.     Basis of Jurisdiction:

               Diversity of Citizenship

               Other: __________________________________

12.     Counts in the Master Complaint adopted by Plaintiff(s):

               Count I – Strict Product Liability- Defective Design

               Count II – Strict Product Liability- Failure to Warn

               Count III – Strict Product Liability- Manufacturing Defect

               Count IV– Negligence

               Count V– Negligence Per Se

               Count VI– Gross Negligence

               Count VII – State Consumer Protection Laws (Please identify applicable State
               Consumer Protection law(s)):

        R.I. GEN. LAWS §§ 6-13.1, et seq.; N.J. STAT. ANN §§ 56:8-1, et seq.;
        MICH. COMP. LAWS§§ 445.901, et seq.;
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          Count VIII – Breach of Implied Warranty

          Count IX – Breach of Express Warranty

          Count X – Negligent Infliction of Emotional Distress

          Count XI – Intentional Infliction of Emotional Distress

          Count XII – Negligent Misrepresentation

          Count XIII – Fraud and Fraudulent Misrepresentation

          Count XIV – Fraudulent Concealment

          Count XV – Wrongful Death

          Count XVI – Loss of Consortium

          Count XVII – Punitive Damages

          Other Count(s) (please identify and state factual and legal bases for
          other claims not included in the Master Complaint below):



          Jury Trial is Demanded as to All Counts

          Jury Trial is NOT Demanded as to All Counts; if Jury Trial is
          Demanded as to Any Count(s), identify which ones (list below):



                                                Respectfully submitted,

                                                 /s/ Kelsey L. Stokes
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